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                                      ***REDACTED VERSION***
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                AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

       I, Seth Witten, being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.      This affidavit is made in support of an application under Rule 4 of the Federal

Rules of Criminal Procedure for a Criminal Complaint and Arrest Warrant authorizing the arrest

of Erik Antonio Contreras (“CONTRERAS”) for one count of possession of child pornography,

in violation of 18 U.S.C. §§ 2252(a)(4)(B) and (b)(2), in the Northern District of California on

October 27, 2023.

       2.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other law enforcement personnel and witnesses.

When recounting information learned from others or conversations with others, I have

summarized that information and not recounted anything verbatim. This affidavit is intended to

show merely that there is sufficient probable cause for the requested complaint and does not set

forth all of my knowledge about this matter.

       3.      I am a Special Agent with the Federal Bureau of Investigation (“FBI”) and have

been so employed since August 2009. I am currently assigned to the San Francisco Field Office,

Oakland Resident Agency, to a squad that investigates crimes against children, including those

committed via the Internet or computers. Since joining the FBI, I have investigated, among other

things, federal criminal violations related to child pornography and the sexual exploitation of

minors. I have received on-the-job training in the area of child pornography and child

exploitation and have observed and reviewed numerous examples of child pornography (as

defined in 18 U.S.C. § 2256) in multiple forms of media. I have participated in the execution of

numerous federal search warrants conducted by the FBI and in the seizure of computer systems

and other types of digital evidence. In addition, I am a certified Digital Extraction Technician

(“DExT”) with the FBI, having been certified in February 2020, after 80 hours of training. As a

DExT, I am authorized to conduct digital analysis of evidence specific to crimes against children




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investigations, and have utilized this authorization for the forensic digital review of materials

related to child pornography and the sexual exploitation of minors.

        4.       I am an “investigative or law enforcement officer” of the United States within the

meaning of 18 U.S.C. § 2510(7). I am empowered by law to conduct investigations of, to execute

search warrants, and to make arrests for offenses of Federal law, including offenses related to

child pornography.

                                         RELEVANT STATUTES

        5.       Pursuant to 18 U.S.C. § 2252(a)(4)(B) and (b)(2), it is unlawful for any person to

knowingly possessing or knowingly accessing with intent to view, or attempting to do so, any

material that contains a visual depiction of and involving the use of a minor engaging in sexually

explicit conduct, that has been mailed, or shipped or transported using any means or facility of

interstate or foreign commerce or in or affecting interstate or foreign commerce by any means,

including by computer, or that was produced using materials that have been mailed or shipped or

transported in or affecting interstate or foreign commerce by any means, including by computer.

                          FACTS ESTABLISHING PROBABLE CAUSE

        6.       Prior to September 10, 2023, a law enforcement officer acting in an undercover

capacity (OCE) posted messages on an online bulletin board known to the OCE as being

frequented by individuals with a sexual interest in children and incest. On the online bulletin

board, the OCE posted his usernames and contact information associated with communication

platforms the OCE maintained for direct communication, such as a Telegram account linked to

the OCE.

        7.       On or about September 10, 2023, OCE received a direct message via the OCE’s

Telegram account from an individual with a listed username of “Ant Cera” (later determined to

be Erik Antonio CONTRERAS) and a linked phone number of 510-***-8312. 1 CONTRERAS



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  From my training and experience, I know that Telegram is a social media and instant messaging platform, that uses
the internet, allowing users to exchange messages, share media and files, and hold private and group chats, video
calls, and livestreams.

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identified himself as having seen OCE’s online posts and advised he resided in Hayward,

California.

       8.            During the course of the Telegram conversation, CONTRERAS advised his first

name was Anthony, that he is 6 feet tall, and a 32-year-old who works construction.

CONTRERAS also advised he used to live in the Diamond district of Oakland. He also provided

his wife’s name, her age, height, and that she works for the same construction company as

CONTRERAS does. CONTRERAS added that his wife is                     and has a sister who is 11

years old.

       9.            From on or about September 11, 2023 and continuing to October 25, 2023, OCE

and CONTRERAS communicated via Telegram, part of which is transcribed below:



              OCE: What sort of incest are you into?

              CONTRERAS: All kinds

              …

              OCE: What about ages? Have a limit on that? Preference?

              CONTRERAS: Double digits at least

              CONTRERAS: But I could be swayed if they've got a sexy body lol

              ....

              OCE: You interested for jerk off purposes or actually curious? Usually share with

              other

              parents or people who want to meet up with me and daughter

              CONTRERAS: Actually curious

              CONTRERAS: I want to be involved if possible

              OCE: I like when I can share her. So far it's only been with one person who also had a

              daughter, but I'm open if someone is kind and gentle and trustworthy

              ....



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   OCE: [sent an image of an age regressed law enforcement female in a skirt bent over

   purported to be OCE's minor daughter]

   CONTRERAS: Oh fuck

   CONTRERAS: Godamn

   OCE: Mmm, would love to see you defile her

   CONTRERAS: Ugh I wanna fuck that little ass of hers

   CONTRERAS: Have you watch as my cock slides in and out of her mouth

   CONTRERAS: And pussy

   ....

   CONTRERAS: I gotta know

   CONTRERAS: How old?

   OCE: How old you think lol?

   CONTRERAS: 13?

   OCE: Almost. She's 12

   CONTRERAS: Damn she's at the perfect age

   ....

   CONTRERAS: I want her so bad lol

   ....

   CONTRERAS: [sent an animated image of penis ejaculating into the mouth of a

   topless female]

   CONTRERAS: I want that to be her when I blow my load in her mouth

   CONTRERAS: I'll save up a good one for her

   ....

   OCE: You sure you are ok with a 12 year old? I don't. Want to show my dau your

   dick and get her excited for nothing

   CONTRERAS: If you are ok with it

   ....

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             OCE: Ideally what would you want to do with her?

             CONTRERAS: Oral for sure

             CONTRERAS: Or whatever the mood calls for



       11.      CONTRERAS further provided OCE pictures of his genitalia and asked OCE to

provide those pictures to his daughter. CONTRERAS requested OCE obtain pictures from his

daughter of her underwear. CONTRERAS requested OCE daughter’s phone number so that he

could direct message her himself.

       12.      CONTRERAS advised that after communicating over video with OCE and his

fictitious minor daughter, he would be willing to meet in person. When asked what he would

want to do upon meeting up, he advised he and his significant other, would have intercourse next

to OCE and OCE’s daughter. When asked if he would want to have intercourse with OCE’s

daughter, CONTRERAS advised “I want to lol.” When asked if CONTRERAS would want to

have intercourse with OCE’s daughter or just watch the OCE have intercourse with her,

CONTRERAS advised “I wanna do both lol.”

       13.      CONTRERAS sent OCE various pictures purported to be of himself and his wife,

some of which included sexual acts. CONTRERAS provided OCE one picture displaying an

adult female with dark hair hugging an adult male. Only the adult male’s chin is visible, which

shows a long, dark beard. The background of the picture appears to be visually similar to other

pictures CONTRERAS sent OCE purporting to be of him and his wife. CONTRERAS provided

two pictures to the OCE of CONTRERAS’s wife and another adult female in the bathtub with a

minor female. CONTRERAS advised the minor female was 4-years old and the daughter of the

other female. The two adult females and the minor female all appear to be nude. CONTRERAS

advised all adults were on “blow and molly” at the time. CONTRERAS noted he watched as

they all bathed together. CONTRERAS also advised that the adult female and her 4-year old




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daughter have spent time with CONTRERAS and his wife in the past, with the 4 year old often

naked during those times.

       14.     Additionally, CONTRERAS advised he maintains a private Snapchat account,

and requested OCE’s Snapchat account information so that he could provide an invitation. After

providing the requested information, OCE received a Snapchat invite from Snapchat user

“airwreck_510”, aka Airwreck Oak_fzj80.” After accepting the invitation, OCE observed sexual

content under the airwreck_510 Snapchat account that was visually similar to that shared by

CONTRERAS to OCE via Telegram.

       15.     On September 12, 2023, a subpoena was issued to AT&T for records related to

phone number 510-***-8312, the phone number associated with CONTRERAS’s Telegram

account. On September 12, 2023, AT&T provided a response to the subpoena with the following

subscriber details:

       Erik A Contreras

       ***67 **** St., Hayward, CA 94541

       Econ            @yahoo.com

       Account status active since 2019

       16.      On September 12, 2023, a subpoena was issued to Snapchat for records related to

Snapchat account airwreck_510. On September 13, 2023, Snapchat provided a response to the

subpoena with the following account details:

       Verified email address: Econtreras1990@yahoo.com

       Verified phone number: 510-***-8312

       Created date June 22, 2016

       Last activity September 12, 2023

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        17.        An internet search was conducted in October 2023 for Erik CONTRERAS. The

internet search identified a LinkedIn profile for an Erik CONTRERAS, with a listed job title of

Lead Facilities Technician with *** in Hayward, California. Under the LinkedIn details,

CONTRERAS describes his work experience as having been in commercial and residential

construction for 8 years. The LinkedIn profile includes a photo, which shows an adult male with

a long dark beard.

        18.        Additional online searches in October 2023 identified a possible cohabitant to

CONTRERAS, an adult female 2.

        19.        A DMV search for Erik CONTRERAS conducted in October 2023 provided a

date of birth of                 , 1990, and a full name of Erik Anthony CONTRERAS. DMV

records list the ***67 **** St., Hayward, CA 94541 as the address for CONTRERAS as of

November 2021. CONTRERAS’ listed height is 6’ 1” and listed weight as 200 pounds. The

DMV photo is of a male with a long dark beard.

        20.        A DMV search for the adult female provided a date of birth of                               ,

and a full name. DMV records list the ***67 **** St., Hayward, CA 94541 as the address for
her as of September 2022. Her listed height is 5 feet. The DMV photo appears to be similar in

appearance to the images shared by CONTRERAS of his wife.

        21.        Surveillance was conducted in the vicinity of the ***67 **** St., Hayward, CA

94541 address between September 26, 2023, and September 28, 2023. During that period,

surveillance identified individuals who appeared physically similar to CONTRERAS and his

wife exiting the residence.

        22.        On October 27, 2023, pursuant to a Federal Search Warrant signed and authorized

on October 26, 2023, a search was executed at ***67 **** St., Hayward, CA 94541, during

2
 While the name of this adult female does not match the name CONTRERAS provided as his wife’s name in
previous chats, her DOB and ethnicity are consistent with what CONTRERAS previously provided in chats to the
OCE.

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which CONTRERAS and his wife were present. An Asus laptop, REVVL cellphone, Samsung

cellphone, and iPhone cellphone were seized as part of the search warrant.

        23.     Following the completion of the search, a forensic analysis was completed on the

seized electronic devices. The seized iPhone was observed to have a listed account registration

info for CONTRERAS and had an assigned phone number of 510-***-8312. Furthermore, the

iPhone was found to have media files that appeared identical to those shared with the OCE.

        24.     Additionally, approximately 31 image files and 15 video files were observed that

were consistent with child pornography. This included one video of a minor female who appears
between 5 and 8 years old performing oral sex on an adult male penis and vomiting from the

action and a video of a minor female who appears to be less than 2 years old being anally

penetrated by an adult male penis.

        25.     The iPhone was further found to contain the application Session. Within Session,

the account holder had a screen name of “Ant Cera” where private conversations were observed.

One conversation was with a user with a screenname of “Ynglove”, where sexually suggestive

images of minor females were shared, to include images of minor females in underwear and

bathing suits. During the discussion and the sharing of sexually suggestive images of minor

females, CONTRERAS stated “I’d love to rub my dick in between some Young ass” and “rub

over her tight little pussy.”

        26.     A forensic review of the Asus laptop revealed approximately 554 image files and

771 video files that were consistent with child pornography. This included a video of an infant
female whose diaper is removed by an adult female and inserts ice cubes into the infant’s anus

and vagina before the infant’s legs are bound and her mouth taped shut. The infant is then hung

upside down with closes pins affixed to her vagina and nipples and hot wax dripped onto her

body. An additional video displayed an infant female with a pacifier in her mouth being

ejaculated on by an adult male penis who then removes the pacifier to rub his semen into the


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child’s mouth. A third video was of a boy who appears under the age of two being anally

penetrated by an adult male penis.

       27.     Based on my training and experience, I believe iPhone that CONTRERAS

utilized to access and store child pornography was manufactured outside of the state of

California; thus, the device recovered from CONTRERAS’s residence in the Northern District of

California had to travel in interstate and/or foreign commerce.




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